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UN|TED STATES DISTR|CT COURT
MlDDLE D|STR|CT OF PENNSYLVANIA

lN THE MATTER OF APPL|CAT|ON FOR .
ADMISS|ON TO PRACT|CE lN TH|S COURT :

PET|T|ON

l JOhn J‘ Graubard , hereby petition the United States District
Court for the Middle District of Pennsylvania to admit me to practice before that Court. In
support of my petition, l state as follows:

My office address is: U.S. Securities and Exchange Comrnission

200 Vesey Street, Room 400

 

 

New York, NY 10281-1022
212-336-0084

 

Offlce Te|ephone:

 

| was admitted to practice before the Courts listed below on the date shown after
the name of each Court, and l am currently a member in good standing of all those Courts.

 

State of New York - 12/23/1968; State of Connecticut - 3/8/1972

 

See attached list of Federal Court Admissions

 

NY-1517150; CT-024369
My attorney identification number is:

 

FOR COURT USE ONLY
GENERAL ADM|SS|ON:

GRANTED BY THE COURT: Date:

SPEC|AL ADMISS|ON:

GRANTED BY THE COURT Date:

 

 

 

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Please Answer the Following Questions:

Al| occasions, if any, on which l have been convicted of a crime (subsequent to my
becoming an attorney), censured, suspended, disciplined or disbarred by any court are set
forth as follows: (State the facts and circumstances connected with each; if none, state

“none".) None

 

 

 

Al| occasions, if any, on which l have been held in contempt of court are set forth
as follows: (State the nature and final disposition of contempt; if none, state “none".)

None

l do , do not X , have any disciplinary action, contempt or other
proceedings involving me pending before any court. (Check the appropriate space.) lf
there are pending proceedings, please explain:

 

 

l am seeking:

General Admission under Loca| Ru|e LR 83.8.1

X Special Admission (specify by a check which ru|e) under

LR 83.8.2.1_., LR 83.8.2.2 X_, LR 83.8.2.3 _ or LR 83.8.2.4 _

|f seeking special admission under Local Rules LR 83.8.2.1, LR 83.8.2.2, LR 83.8.2.3, or
LR 83.8.2.4, the basis for my admission under the designated rule is as follows:

l am an attorney with the United States Securities and Exchange Commission,

 

and will be representing an agency of the United States

 

NAME THE PARTY YOU REPRESENT:
Securities and Exchange Commission

 

lf special admission is requested for a particular case, please list case number and caption:

Case #

 

Caption #

 

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John J. Graubard
F ederal Court Adm.issions

Suprerne Court of the United States

Court of Appeals for the First Circuit

Court of Appeals for the Second Circuit

Court of Appeals for the Thjrd Circuit

District of Connecticut

Eastern District of New York

Northern District of NeW York

Southern District of NeW York

Western District of New York

(full admissions to these courts; limited admission as government attorney to other Dist:r:icts)

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l understand that:

1)

2)

3)

if seeking admission under Section LR 83.8.2.2, LR 83.8.2.3, or 83.8.2.4,

l must submit a letter from a superior stating the agency with which l am
employed and the duties performed which qualify me for admission under
those sections

if petitioning for admission, only in a particular case, under Ru|e LR 83.8.2.1,
l need no sponsor’s certificate Any attorney specially admitted under LR
83.8.2.1, shal|, in each proceeding in which he or she appears, have
associate counsel who is generally admitted under Locai Rule 83.8.1 to
practice in this court, whose appearance shall also be entered of record and
upon whom ali pleadings, motions, notices, and other papers may be served
in accordance with any statute or applicable rule. The attendance of any
such associate counsel upon the hearing of any motion or the taking of any
testimony shall be sufficient appearance for the party or parties represented
by such associate counsel. Either the specially admitted attorney or
associate counsel must be fully prepared to participate in any hearings,
arguments, conferences and trials. (See LR 83.9)

if special admission is requested for a particular case, please list the name,
address, telephone number and bar identification number of associate
counsel to be entered of record in the case:

 

 

 

if seeking general admission under Rule LR 83.8.1, l must be a member of
the bar of the Supreme Court of Pennsylvania and have a sponsor who is a
member in good standing of the Bar of this Court present to ove for my

admission and l must submit the syiw petition.
PEWER / //
517150; CT»O24369

(Bar identincation Number and State where admitted)
4/l B/ZOi 7

(Date)

 

By signing this petition for admission, l acknowledge that l have read the attached
Middle District of Pennsylvania Code of Professional Conduct and agree to subscribe to
the standards set forth in the Code.

NAME oFPETiTioNER T°‘~\‘° 7' G"<f`\)‘d\\\‘\

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UN|TED STATES DlSTRlCT COURT
FOR THE
MlDDLE DlSTRlCT OF PENNSYLVANIA
CODE OF PROFESS|ONAL CONDUCT

As a member of the Bar of the United States District Court for the Middle District

of Pennsylvania, l will strive for the following professional ideal:

1.

The rule of law will govern my entire conduct. l will not violate the law or place myself
above the law.

l will treat with civility and respect the lawyers, clients, opposing parties, the court and all
the officials with whom l work. Professiona| courtesy is compatible with vigorous
advocacy and zealous representation Even though antagonism may be expected by
my client, it is not part of my duty to my client.

l will respect other lawyers' schedules as my own, and will seek agreement on meetings,
depositions hearings, and trial dates A reasonable request for a scheduling
accommodation should never be unreasonably refused

Communications are life lines l will keep the lines open. Te|ephone calls and
correspondence are a two-way channel; l will respond to them promptly.

l will be punctual in appointments communications and in honoring scheduled
appearances Neglect and tardiness are demeaning to others and to the judicial
system.

l will earnestly attempt to resolve differences through negotiation, expeditiously and
without needless expense `

Procedural rules are necessary to judicial order and decorum. l will be mindful that
pleadingsl discovery processes and motions cost time and money. l will not use them

heedlessly. if an adversary is entitled to something, l will provide it without unnecessary
formalities.

l will not engage in conduct that brings disorder or disruption to the courtroom. l will
advise my client and witnesses appearing in court of the proper conduct expected and
required there and, to the best of my ability, prevent my client and witnesses from
creating disorder or disruption.

Before dates for hearings or trials are set, or if that is not feasible immediately after such
date has been set, l will attempt to verify the availability of necessary participants and
witnesses so i can promptly notify the court of any likely problems

l agree to subscribe to the a ve
Code of Professio

    

 

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UNITED STATES
SECURITIES AND EXCHANGE COMMISSION
NEW YORK REGIONAL OFFICE
200 VESEY STREET me:R's DmEcT DrAL LlNE
ROOM 400 LARA SHALov MEHRABAN
NEW YORK, NEW YORK 10281-1022 (212) 336-0591
MehrabanL@sec.gov
Aprii 13, 2017
VIA FIRST CLASS MAIL
Peter J. Welsh, Esq.
Acting Clerk
Middle District of Pennsylvania
P.O. BOX 1148

Scranton, PA 18501-1148

Dear Mr. Welsh:

Pursuant to LR 83.8.2.2, I write to confirm that John J. Graubard is employed by the

Division of Enforcement of the U.S. Securities and Exchange Commission as a trial counsel who
is engaged in litigation activities

Very trul yours,

Lara Shalov Mehraban
Associate Regional Director

